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10   Attorneys for Defendant
     JASON CORBETT
11
12                     IN THE UNITED STATES DISTRICT COURT
13                   FOR THE EASTERN DISTRICT OF CALIFORNIA
14
15   UNITED STATES OF AMERICA,                       Case No. 2:19-CR-00107-KJM-8
16               Plaintiff,                          DEFENDANT JASON CORBETT’S
                                                     SENTENCING MEMORANDUM
17         v.
                                                     Hearing Date: 09/24/2024
18   JASON CORBETT.
                                                     Hearing Time: 9:30 am
19                  Defendant.
                                                     BEFORE THE HONORABLE
20                                                   KIMBERLY J. MUELLER, SENIOR
                                                     JUDGE
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24         Defendant Jason Corbett, by and through his counsel of record, hereby files his
25   sentencing memorandum for the Court’s consideration prior to the sentencing
26   scheduled to occur on September 24, 2024.
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1    Dated: September 19, 2024         Respectfully submitted,
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3                                      By /s/ Richard G. Novak
4
                                       KRESTA NORA DALY
                                       RICHARD G. NOVAK
5                                      NAOMI L. SVENSSON
6                                      Attorneys for Jason Corbett

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1                             SENTENCING MEMORANDUM
2          Mr. Corbett’s Presentence Investigation Report (PSR) was disclosed to the
3    Court and the parties on September 17, 2024. (Doc. No. 2442) Mr. Corbett reviewed
4    the PSR with his counsel on September 19, 2024. Mr. Corbett has no objections to the
5    contents of the PSR, nor does he have any objections to the sentencing
6    recommendation (Doc. No. 2442-1).
7          The PSR and sentencing recommendation are silent on the issue of whether the
8    sentence imposed in this matter should run concurrent with or consecutive to the
9    undischarged indeterminate 25 years to Life sentence in Butte County Superior Court
10   Case No. CM009910, which Mr. Corbett is currently serving in the California
11   Department of Corrections. United States Sentencing Guidelines section 5G1.3(a)
12   provides that the sentence in this case “shall be imposed to run consecutively” to Mr.
13   Corbett’s undischarged term of imprisonment because the instant offense was
14   committed while he was serving that term of imprisonment.
15         Mr. Corbett requests that judgment entered by this Court specifically state and
16   require that the sentence imposed here is to be served consecutive to that undischarged
17   term of imprisonment.
18
19   Dated: September 19, 2024              Respectfully submitted
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21                                          By /s/ Richard G. Novak
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                                            KRESTA NORA DALY
                                            RICHARD G. NOVAK
23                                          NAOMI L. SVENSSON
24                                          Attorneys for Jason Corbett

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